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                     EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA
                                                             AUSA AFFIRMATION
                  v.
                                                             S1 23 Cr. 118 (AT)
    HO WAN KWOK,
      a/k/a “Miles Guo,”
      a/k/a “Miles Kwok,”
      a/k/a “Guo Wengui,”
      a/k/a “Brother Seven,”
      a/k/a “The Principal,”

    KIN MING JE,
      a/k/a “William Je,” and

    YANPING WANG,
      a/k/a “Yvette,”

                         Defendants.



STATE OF NEW YORK         )
COUNTY OF NEW YORK        : ss.:
SOUTHERN DISTRICT OF NEW YORK )


         JULIANA N. MURRAY, pursuant to 28 U.S.C. § 1746, hereby affirms under penalty of

perjury:

         1. I am an Assistant United States Attorney in the Office of Damian Williams, United

States Attorney for the Southern District of New York. I submit this affirmation to provide the

Court with information concerning the nature and extent of the Government’s 1 relationship with

the Securities and Exchange Commission (“SEC”) during the Government’s investigation of Ho




1
 References to the Government throughout this Affirmation refer to the United States Attorney’s
Office for the Southern District of New York.

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Wan Kwok, Kin Ming Je, and Yanping Wang (the “Kwok Investigation”). I am one of the

Assistant United States Attorneys currently responsible for this matter, and I have been involved

with the investigation since 2021.

        2. Based on my participation in this investigation, my review of emails and text messages,

my review of call notes, my conversations with attorneys for the SEC Enforcement Division team

who conducted the parallel investigation of Kwok, Je, and Wang, and my conversations with other

Assistant United States Attorneys who also participated in the Kwok Investigation, I have learned

the following, among other things, about the Kwok Investigation:

            a. The SEC played no role in the Government’s charging decisions or the

development of the Government’s prosecutorial strategy.

            b. Likewise, based on my discussions with attorneys at the SEC, I understand that the

Government played no role in the SEC’s charging decisions or the developments of the SEC’s

litigation strategy.

            c. No one from the SEC was designated as a special Assistant U.S. Attorney to work

on the criminal investigation.

            d. The SEC participated in certain of the interviews conducted by the Government in

the course of the Kwok Investigation. The SEC did not take notes during those interviews.

            e. At interviews in which both the Government and the SEC participated, witnesses

were told, in sum and substance, that the agencies’ investigations were separate, that the interviews

were conducted together only as a matter of convenience, and that, if there were to be a proffer

agreement, the witness would enter into a separate agreement with each agency. 2



2
 Where a witness was interviewed on multiple occasions, these statements were made at the initial
proffer but were not necessarily repeated at each subsequent proffer.

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           f. The SEC was not involved in presenting the criminal case to the grand jury and did

not receive grand jury transcripts.

           g. The SEC did not participate in the execution of search warrants, or the

responsiveness reviews of materials obtained pursuant to search warrants.

           h. The Government did not produce to the SEC any materials that the Government

obtained pursuant to grand jury subpoenas.

           i. The SEC has not accompanied the Government to Court in the criminal case.

       3. Based on my participation in this investigation, my review of the docket in Kwok’s

chapter 11 bankruptcy case, my review of emails and text messages, my review of call notes, my

conversations with the Trustee and his associates, and my conversations with other Assistant

United States Attorneys who also participated in the Kwok Investigation, I have learned the

following, among other things, about the Kwok Investigation:

           a. The Government initiated the Kwok Investigation in or about May 2020.

           b. Kwok filed a voluntary petition for chapter 11 bankruptcy on or about February 15,

2022. The Trustee was appointed on or about July 7, 2022.

           c. The Trustee played no role in the Government’s charging decisions or the

development of the Government’s prosecutorial strategy.

           d. The Trustee was not involved in presenting the Kwok Investigation to the grand

jury and did not receive grand jury transcripts.

           e. The Trustee did not participate in the execution of search warrants, or the

responsiveness reviews of materials obtained pursuant to search warrants.

           f. The Trustee has not participated in any of the Government’s interviews.




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          g. The Trustee did not obtain materials produced to the Government pursuant to grand

jury subpoenas.

          h. The Trustee has not accompanied the Government to Court in the criminal case.


Dated: New York, New York
       October 19, 2023



                                                     Juliana N. Murray
                                                     Assistant United States Attorney
                                                     (212) 637-2314




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